       Case 1:18-cr-00246-ADA-BAM Document 120 Filed 06/10/20 Page 1 of 2

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 6 RUBEN CORTEZ-ROCHA

 7                            UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                )       Case No.: 1:18-CR-00246-DAD-BAM
11                                            )
                            Plaintiff,        )       ORDER
12                                            )
                     v.                       )
13                                            )
     RUBEN CORTEZ-ROCHA,                      )
14                                            )
                            Defendant.        )
15                                            )
16             Pursuant to the parties’ Stipulation and good cause shown, IT IS HEREBY
17
     ORDERED that the defendant’s bond be modified as follows:
18

19             Defendant must participate in a program of medical or psychiatric treatment,
20
     including treatment for drug or alcohol dependency, as approved by the pretrial
21
     services officer. You must pay all or part of the costs of the counseling services
22

23 based upon your ability to pay, as determined by the pretrial services officer.

24
               All other requirements of the defendant’s bond shall remain in force and
25
     effect.
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27
     IT IS SO ORDERED.
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     Case 1:18-cr-00246-ADA-BAM Document 120 Filed 06/10/20 Page 2 of 2

 1 Dated:   June 10, 2020                        /s/   Sheila K. Oberto   .
 2                                       UNITED STATES MAGISTRATE JUDGE

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